Case 1:21-cr-00222-TFH Document 18-5 Filed 04/20/21 Page 1 of 2

April 8°, 2021
Dear Sir/Madam,

My n: name is Elie Khater and I am Julian Khater’ s father.

I always strived and worked hard to raise a good family. I

brought up my four sons to be productive members of society. I
instilled in them good values, teaching them to be caring and
respectful of others. |
They all attended college, and Julian in particular always kept
busy studying and working. He attended Raritan Valley College
where he earned his Associates Degree in Business (2007-2009).
He then attended Fairleigh Dickinson University from 2009 to
2011 where he earned his Bachelor’s Degree in Business
Administration and Management. While Julian attended college
he always was employed. He worked at Peter’s Liquors in New
Brunswick from 2007 to 2012. He also worked as bar manager
at Panico’s Restaurant from 2011-2016, and from 2014 to 2016
as a financial sales consultant at PNC Bank in Somerset, New
Jersey. From December 2016 to January 2018, he worked as an
event ambassador and bartender at Top Golf in Edison, New
Jersey. From January 2018 to January 2019 he managed and co-
owned Frutta Bowls in Chapel Hill, North Carolina. Then from
January 2019 to May 2020 he ran the Frutta Bowls in State
college, Pennsylvania. He has worked and studied continuously
since he was 17,

Julian always worked in the service industry. He was always
well-liked by everyone and loved by his customers. He loved
people and people loved him. Julian is a loving, caring, quiet
and gentle human being. Any homeowner would love Julian as a
neighbor; any business owner would love Julian as an employee;
any parent dreams of having a son like Julian. Julian is always
respectful and considerate of others, and he has never ever
harmed a living being in his entire life. Julian always loved and
cherished law enforcement (police, fire fighters, army etc.).
Anyone who served our country in any capacity was his hero. In
fact, one of his ambitions was to join the Sherriff’s Department
in Franklin Township, NJ.

Julian always kept busy with studies and work and was never
involved in anything else. I was shocked and devastated to learn
of his arrest in connection with the events of January 6". Nothing
could be further from the truth than the statements in the media
that Julian is some kind of activist or agitator. Knowing my son

 

 
Case 1:21-cr-00222-TFH Document 18-5 Filed 04/20/21 Page 2 of 2

as I do, I can assure you that if he was there, it was to attend a
peaceful rally, to listen to the speeches, and have fun. After all,
no one expected this event to be anything other than peaceful,
including the authorities in charge. Julian has never, and would
never harm anyone, especially law enforcement which he
cherishes. Julian happened to be at the wrong place at the wrong
time.

It is my sincere hope that you take these notes and facts into oo
serious consideration when thinking of Julian, and please do not
hesitate to reach out to me at any time should you: need anything |
else regarding Julian or this matter.

Very Sincerely yours,

Elie M Khater

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